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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

ROBERT F. KENNEDY, JR.,

            Plaintiff,                               Case No. 24-12375
vs.                                                  Hon. Denise Page Hood

JOCELYN BENSON, in her official
Capacity as Michigan Secretary of State,

          Defendant.
_____________________________________/

                             NOTICE OF APPEAL

      Notice is hereby given that Plaintiff Robert F. Kennedy, Jr. hereby appeals

to the United States Court of Appeals for the Sixth Circuit from:

      (1) the “Judgment” entered in this action on the 18th day of September,

2024 (ECF No. 14);

      (2)   the “Order Denying Plaintiff’s Motion for Preliminary Injunction”

entered in this action on the 18th day of September, 2024 (ECF No. 15);

                                             Respectfully submitted,

                                             DICKINSON WRIGHT PLLC

                                                     /s/ Brandon L. Debus
                                             By:
                                                   Brandon L. Debus (P81159)
                                                   2600 W. Big Beaver Rd., Ste. 300
                                                   (248) 433-7674
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Dated: August 21, 2020
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                          CERTIFICATE OF SERVICE

      I hereby certify that on September 20, 2024, I electronically filed the

foregoing paper with the Clerk of the Court using the ECF system, which will send

notification of such filing to counsel of record.

                                               DICKINSON WRIGHT PLLC

                                                     /s/ Brandon L. Debus
                                               By:
                                                 Brandon L. Debus (P81159)
                                                 2600 W. Big Beaver Rd., Ste. 300
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